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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA


         v.                                                            18-cr-10450-MLW


 JONATHAN TERCERO YANES



              JONATHAN TERCERO YANES’ RESPONSE TO COURT ORDER AT 716 AND
                                   CONDITIONAL MOTION TO SEAL

              The defendant replies to the remaining paragraphs of the Court’s Order at Docket

Entry 716:

7. The parties shall confer and, by December 1, 2021, report regarding any logistical or other issues

related to the sentencing hearings, including a proposed order in which the defendants should be

sentenced.

        The defendant has conferred with counsel for the United States, who intends to file a

        Joint response detailing the agreed recommendation for accommodation and sequence.

        The defendant merely reminds the Court of this need for a Spanish Interpreter.

8. Each defendant shall report, by December 1, 2021, whether he has received a COVID-19 vaccination.

        The defendant is not vaccinated.

Because of the defendant’s medical information contained in this response, he submits this

document through electronic mail to all parties and the Court (via Clerk). Should the Order

require a docketed submission, Mr. Tercero Yanes seeks leave submit his response under seal.



                                                                                 Respectfully Submitted,

                                                                                 /s/Leonard E. Milligan III
                                                                                  Leonard E. Milligan III
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                               CERTIFICATE OF SERVICE

I, Leonard E. Milligan III, hereby certify that this document will be sent electronically to
the all parties via electronic mail Jessica Hedges for Eliseo Vaquerano Canes
(hedges@htlawyers.com), William Fick for Erick Lopez-Flores (wfick@fickmarx.com),
George Gormley for Henri Salvador Gutierrez (gfgormley@aol.com), Gordon Spencer
for Djavier Duggins (attyspencer@aol.com), Honorable Mark L. Wolf, presiding by
email to clerk Magdalena Loret (Magdalena_Loret@mad.uscourts.gov)
        .

December 1, 2021                          /s/Leonard E. Milligan III
                                                Leonard E. Milligan III
